                              Case 3:07-cv-05944-JST Document 1879 Filed 08/29/13 Page 1 of 2



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                         Counsel for Plaintiff Target Corporation
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                12
                                                     UNITED STATES DISTRICT COURT
                13
                                                  NORTHERN DISTRICT OF CALIFORNIA
                14
                                                         SAN FRANCISCO DIVISION
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                17       In re: CATHODE RAY TUBE (CRT)               CASE NO. C-07-5944 SC
                         ANTITRUST LITIGATION
                18                                                   MDL No. 1917

                19
                         This Document Relates to:                   Individual Case No.: 3:11-cv-5514-SC
                20                  Case No. 3:11-cv-5514-SC
                                                                     NOTICE OF PLAINTIFF TARGET
                21       TARGET CORPORATION,                         CORPORATION REGARDING STATUS
                                                                     CONFERENCE
                22                     Plaintiff,

                23       v.

                24
                         CHUNGHWA PICTURE TUBES LTD., et
                25       al.,

                26                             Defendants.

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  C ROWELL                                                          -1-
& M ORING LLP
ATTO RNEY S AT LAW                                                          PLAINTIFF TARGET’S NOTICE OF UNAVAILABILITY;
                                                                                          CASE NO. CV 11-5514 MDL NO. 1917
                         DCACTIVE-22307481.1
                           Case 3:07-cv-05944-JST Document 1879 Filed 08/29/13 Page 2 of 2



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                     2           Plaintiff Target Corporation (“Target”) files this Notice pursuant to the Court’s July 2,
                     3   2013 Order Setting Status Conference (Dkt. 1758). Target’s knowledgeable in-house counsel has
                     4   a previously scheduled hearing and will be unable to attend the September 13, 2013 Status
                     5   Conference. Outside counsel for Target is, however, available to represent Target at the Status
                     6   Conference. Accordingly, Target respectfully requests that the Court excuse Target from
                     7   attending the September 13 Status Conference and that counsel from Crowell & Moring LLP be
                     8   permitted to represent Target at the hearing.
                     9

                10       Dated: August 27, 2013                                  Respectfully submitted,
                11                                                                   /s/ Astor H.L. Heaven
                                                                                 Jason C. Murray (CA Bar No. 169806)
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                                              Judge S                            Counsel for Target Corporation
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& M ORING LLP
ATTO RNEY S AT LAW                                                                       PLAINTIFF TARGET’S NOTICE OF UNAVAILABILITY;
                                                                                                           CASE NO. CV 11-5514; MDL 1917
                         DCACTIVE-22307481.1
